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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
BEVERLY HENRY, ET AL                          CIVIL ACTION

VERSUS                                                            NO. 16-15895

DAVITA DIALYSIS CENTER OF                                         SECTION: L (2)
DONALDSONVILLE, LA, ET AL


                                        JUDGMENT


         Considering the Court’s Order and Reasons entered herein on March 19, 2018,

accordingly:

         IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in favor of

Defendant, DVA Renal Healthcare, Inc. and against Plaintiffs, Beverly Henry, Danny Taylor,

Dionne Marlene Taylor and Olivia Taylor, dismissing said plaintiffs’ claims with prejudice and

costs.

         New Orleans, Louisiana, this   21st     day of March, 2018.

                                               ________________________________
                                               ELDON E. FALLON
                                               UNITED STATES DISTRICT JUDGE
